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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                     ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                       2:15-cr-00265-RCF-GWF
      vs.                                               ORDER
8     WILLIAM G. SEAMANN-RUPP,
9                          Defendant.

10

11          Before the Court is Defendant William G. Seamann-Rupp’s Motion to Modify Conditions of
12   Pretrial Release (ECF No. 102).
13          Accordingly,
14          IT IS HEREBY ORDERED that any opposition to Defendant William G. Seamann-Rupp’s Motion
15   to Modify Conditions of Pretrial Release (ECF No. 102) must be filed on or before September 21, 2017.
16   No reply necessary.
17          DATED this 14th day of September, 2017.
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18
                                                              CAM FERENBACH
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                                                              UNITED STATES MAGISTRATE JUDGE

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